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 1                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 2
                                     SAN FRANCISCO DIVISION
 3
     PAVAN KUMAR VUKKALKAR,                            Case No. 3:25-cv-512 (LJC)
 4
                                       et al.,
 5
                                  Plaintiffs,          JOINT MOTION FOR A 120-DAY
 6
                           v.                          STAY OF DEFENDANT’S
                                                       DEADLINE TO ANSWER OR
 7
     KIKA SCOTT,                                       OTHERWISE RESPOND TO THE
                                                       COMPLAINT
 8
                                  Defendant.
 9

10
                                                 ORDER
11
            PURSUANT TO STIPULATION, IT IS SO ORDERED. This matter is stayed for 120
12
     days. Defendants shall answer or otherwise respond to the Complaint on or before July 22, 2025.
13
            DATED this 17 day of April, 2025.
14

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                                                 _____________________________________
16                                               HONORABLE LISA J. CISNEROS
                                                 United States Magistrate Judge
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     ORDER GRANTING 120-DAY STAY                 1            U.S. DEPARTMENT OF JUSTICE, CIVIL DIVISION
     No. 3:25-cv-512 (LJC)                                             OFFICE OF IMMIGRATION LITIGATION
                                                                 GENERAL LITIGATION & APPEALS SECTION
                                                                     P.O. BOX 868, BEN FRANKLIN STATION
                                                                                  WASHINGTON, DC 20044
                                                                                          (202) 305-1540
